Case 14-19827   Doc 1   Filed 05/28/14   Entered 05/28/14 11:23:52   Desc Main
                           Document      Page 1 of 6
Case 14-19827   Doc 1   Filed 05/28/14   Entered 05/28/14 11:23:52   Desc Main
                           Document      Page 2 of 6
Case 14-19827   Doc 1   Filed 05/28/14   Entered 05/28/14 11:23:52   Desc Main
                           Document      Page 3 of 6
Case 14-19827   Doc 1   Filed 05/28/14   Entered 05/28/14 11:23:52   Desc Main
                           Document      Page 4 of 6
Case 14-19827   Doc 1   Filed 05/28/14   Entered 05/28/14 11:23:52   Desc Main
                           Document      Page 5 of 6
Case 14-19827   Doc 1   Filed 05/28/14   Entered 05/28/14 11:23:52   Desc Main
                           Document      Page 6 of 6
